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                                                                                FILED
                                                                    United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                     Tenth Circuit

                               FOR THE TENTH CIRCUIT                    September 12, 2022
                           _________________________________
                                                                        Christopher M. Wolpert
                                                                            Clerk of Court
   JUN LI; QI QIN; YI LIU; JIE YANG;
   YUQUAN NI; ZHONGZAO SHI; FANG
   SHENG; SHUNLI SHAO; KAIYUAN
   WU; ZHIJIAN WU; ZHONGWEI LI;
   YUWEI DONG; LIN QIAO; JINGE HU;
   RUJUN LIU; FAN ZHANG; LU LI; SA
   WU; YING XU; CAO XIAOLONG;
   HSIN-YI WU,

         Plaintiffs - Appellants,

   and

   DIANWEN CUI; LEI GU; SUFEN LENG;
   XUE MEI; ZHOU MEI; YAN SONG; LU
   WANG; YUE WU; ZHOU YANG;
   JINGWEN ZHANG; LEI ZHANG; LING
   ZHANG; XIAOHONG ZHANG; QIN
   ZHOU; XUN ZHU; CHUNYI ZOU,

         Plaintiffs,

   v.                                                          No. 21-1232
                                                   (D.C. No. 1:19-CV-02443-RM-STV)
   COLORADO REGIONAL CENTER I,                                  (D. Colo.)
   LLC; SOLARIS PROPERTY OWNER I
   LLC; PETER KNOBEL; COLORADO
   REGIONAL CENTER PROJECT
   SOLARIS LLLP, and all principals and
   ultimate owners of business entities
   pursuant to piercing of the limited liability
   veil,

         Defendants - Appellees.

   –––––––––––––––––––––––––––––––––––

   DIANWEN CUI; LEI GU; SUFEN LENG;
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   XUE MEI; ZHOU MEI; YAN SONG; LU
   WANG; YUE WU; ZHOU YANG;
   JINGWEN ZHANG; LEI ZHANG; LING
   ZHANG; XIAOHONG ZHANG; QIN
   ZHOU; XUN ZHU; CHUNYI ZOU,

         Plaintiffs - Appellants,

   and

   JUN LI; QI QIN; YI LIU; JIE YANG;
   YUQUAN NI; ZHONGZAO SHI; FANG
   SHENG; SHUNLI SHAO; KAIYUAN
   WU; ZHIJIAN WU; ZHONGWEI LI; LIN
   QIAO; JINGE HU; RUJUN LIU; FAN
   ZHANG; LU LI; SA WU; YING XU;
   CAO XIAOLONG; WU HSIN-YI;
   YUWEI DONG,

         Plaintiffs,

   v.                                                      No. 21-1253
                                               (D.C. No. 1:19-CV-02443-RM-STV)
   COLORADO REGIONAL CENTER LLC;                            (D. Colo.)
   COLORADO REGIONAL CENTER I,
   LLC; SOLARIS PROPERTY OWNER
   LLC; SOLARIS PROPERTY OWNER I
   LLC; COLORADO REGIONAL CENTER
   PROJECT SOLARIS LLLP;
   WAVELAND VENTURES, LLC,

         Defendants - Appellees,

   and

   PETER KNOBEL,

         Defendant.
                           ________________________________
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                               ORDER AND JUDGMENT *
                           _________________________________

  Before MATHESON, KELLY, and PHILLIPS, Circuit Judges.
                    _________________________________

         Appellants are two groups of Chinese investors, the Li Appellants and the Cui

  Appellants. Each investor purchased a limited partnership interest in Colorado

  Regional Center Project Solaris LLLP (“CRCPS”). Through its general partner,

  CRCPS loaned the proceeds from the investments to a real estate development

  project. After the project produced low returns and defaulted on the loans, each

   group of Appellants separately sued CRCPS, its general partner, and other parties

   involved in the real-estate project.

         The district court dismissed both complaints, denied several motions filed by

   Appellants, and ordered them to pay attorney fees under Colorado and federal law.

   Each group of Appellants appealed. We consolidated their appeals. Exercising

   jurisdiction under 28 U.S.C. § 1291, we

         (A) affirm the district court’s dismissal of Appellants’ claims under Federal
             Rule of Civil Procedure 12(b)(6) except for the Li Appellants’ claim for
             breach of fiduciary duty, which we affirm in part and reverse in part;




         *
          After examining the briefs and appellate record, this panel has determined
  unanimously to honor the parties’ request for a decision on the briefs without oral
  argument. See Fed. R. App. P. 34(f); 10th Cir. R. 34.1(G). The case is therefore
  submitted without oral argument. This Order and Judgment is not binding precedent,
  except under the doctrines of law of the case, res judicata, and collateral estoppel. It
  may be cited, however, for its persuasive value consistent with Fed. R. App. P. 32.1
  and 10th Cir. R. 32.1.

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         (B) affirm dismissal of the Cui Appellants’ remaining state law claims for
             lack of jurisdiction;

         (C) reverse the district court’s dismissal of the Cui Appellants’ motion to
             amend their complaint;

         (D) affirm the district court’s denial of the Li Appellants’ motion for default
             judgment; and

         (E) vacate the awards of attorney fees.

  We remand to the district court for further proceedings consistent with this Order and

  Judgment.

                                    I. BACKGROUND

                                 A. Factual Background 1

      The Parties

         CRCPS is a limited liability limited partnership created by Colorado Regional

  Center, LLC (“CRC”) and Waveland Ventures, LLC. It serves as an EB–5 Regional

  Center, an entity approved by the federal government to promote economic growth

  by encouraging investments by foreign persons in exchange for permanent resident

  cards (green cards). As described in Liu v. SEC, 140 S. Ct. 1936, 1941 (2020), “[t]he

  EB–5 Program, administered by the U.S. Citizenship and Immigration Services,

   permits noncitizens to apply for permanent residence in the United States by



         1
          The Li Appellants and Cui Appellants each amended their complaints three
  times. Their third amended complaints are the operative complaints, from which we
  draw the factual background presented above. “In reviewing a district court’s
  dismissal under . . . 12(b)(6), we accept as true all well-pleaded factual allegations in
  the complaint and view them in the light most favorable to the plaintiff[s].” Garling
  v. United States Env’t Prot. Agency, 849 F.3d 1289, 1292 (10th Cir. 2017)
  (quotations and alterations omitted).
                                                 2
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  investing in approved commercial enterprises that are based on proposals for

  promoting economic growth.” (quotations omitted). Colorado Regional Center I LLC

  (“CRC I”), 2 a subsidiary of CRC, manages CRCPS as its general partner.

         Appellants, two groups of Chinese investors, purchased limited partnership

  interests in CRCPS. In total, 165 investors each paid approximately $500,000 for

  their limited partnership interests, totaling $82.5 million. CRCPS loaned the

  proceeds from these investments to Solaris Property Owner, LLC (“SPO”) to fund the

  completion of a condominium complex in Vail, Colorado.

     Governing Documents

         Three documents set forth the terms of the parties’ arrangements.

         First, CRCPS’s “Partnership Agreement” (undated) set the terms of CRCPS’s

  internal management. It provided that CRC I had the exclusive right to manage,

  operate, and control CRCPS. Neither CRCPS nor the limited partners could hold

  CRC I liable for any acts or omissions unless CRC I acted in bad faith, gross

  negligence, or willful misconduct. The Partnership Agreement allowed limited

  partners to exercise a put option 3 to sell their interest to the partnership.

         Second, the “Loan Agreement,” dated November 5, 2010, provided for CRCPS

  to loan funds to SPO to complete development of SPO’s condominium project.



         Although the Li Appellants refer to this entity as “CRC 1,” the Cui
         2

  Appellants refer to it as “CRC I,” which we adopt throughout this order.
         3
           A put option is “[a]n option to sell something (esp. securities) at a fixed price
  even if the market declines.” Option, Black’s Law Dictionary (11th ed. 2019).

                                                   3
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        Third, the “Confidential Information Memorandum,” dated March 31, 2011,

  set the terms of each investor’s purchase of the limited partnership stake. It stated

  that each investor would pay approximately $500,000 for a limited partnership

  interest in CRCPS, totaling around $82.5 million in raised funds. CRCPS would loan

  the proceeds to SPO, which would use these funds to pay project development costs

  for the condominium complex. The Memorandum also stated that certain

  condominium units in the building would be used as collateral for the loan. A related

  document designated 19 condominium units as collateral.

        The Confidential Information Memorandum provided that CRCPS would fund

  the loan through multiple advances, and each advance would carry a 5% interest rate.

  The principal balance and accrued interest on each advance was due within five years

  of each advance. SPO could not prepay any of the balance for three years, but after

  the three-year-period, it could repay with cash or a collateral condominium unit.

  CRCPS could refuse repayment through cash and compel SPO to convey the

  collateral condominium unit.

     Investments and Loans

        Based on the documents, CRCPS began soliciting investments. Investors

  purchased limited partnership interests in CRCPS between 2012 and 2015. Before

  receiving any advances, SPO assigned its rights and obligations under the

  arrangement to its wholly owned subsidiary, Solaris Property Owner I (“SPO I”).

        Between April 2012 and January 2015, CRCPS made 19 loan advances to SPO

  I. About three years after the first advance, CRCPS and SPO I entered into an

                                                 4
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  agreement regarding the collateral condominium units (the “Agreement Regarding

  Collateral Units” or “ARCU”). Under the ARCU, SPO I gave CRCPS notice that it

  would pay back the loan advances by conveying the collateral condominium units.

  The ARCU stated that SPO I would not immediately transfer the deed to the

  condominium units but CRCPS would be responsible for all fees and costs associated

  with the units and would pause the accrual of interest on the advances. Thus, under

  the ARCU, SPO I was deemed to have repaid the loan advances.

         In 2016, CRC I and CRCPS began sending notices to the limited partners that

  identified the collateral condominium units as partnership property but acknowledged

  that SPO I still held title. The notices stated that CRCPS was coordinating with SPO

  I to transfer title.

                           B. The District Court Proceedings 4

         In 2019, the two groups of limited partners—the Li and the Cui Appellants—

  filed lawsuits alleging state and federal claims against various defendants. In

  general, they alleged that SPO and SPO I misrepresented the value of the collateral

   condominium units and that CRC I violated its duties as the general partner of

   CRCPS. According to Appellants, Defendants-Appellees 5 misrepresented that the

  loan was fully secured when it was not. They alleged that these misrepresentations


         4
          We summarize the district court proceedings here and elaborate on them as
  needed later in our analysis.

         We refer to Defendants-Appellees as Appellees for the remainder of this
         5

  Order and Judgment.

                                                5
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  led to losses of over $40 million and that SPO and SPO I have now defaulted on their

  loans.

           In their operative complaint, the Li Appellants brought several direct and

  derivative 6 claims against CRC, CRC I, SPO, SPO I, Peter Knobel (SPO’s owner),

  and Waveland Ventures, LLC. 7 Separately, the Cui Appellants sued Waveland

  Ventures LLC, CRCPS, CRC I, SPO, SPO I, and Mr. Knobel alleging both direct and

  derivative claims. 8 In both complaints, the derivative claims were brought on behalf

  of CRCPS.



           “A derivative action is a vehicle that enables the prosecution of claims on
           6

  behalf of a corporation or other entity.” S’holder Derivative Actions L. & Prac. § 1:1
  (2022). A derivative suit enables limited partners and other shareholders to assert
  claims on behalf of the entity, here CRCPS. A plaintiff in a derivative suit may
  assert claims against parties that owe fiduciary duties to the entity.
           7
               The Li Appellants brought:
                   (1) a derivative breach-of-fiduciary-duty claim against CRC I;
                   (2) a derivative civil-theft claim against CRC, SPO, SPO I, and Mr.
                       Knobel;
                   (3) a derivative breach-of-loan-agreement claim against SPO I;
                   (4) a derivative breach-of-transfer-of-title claim against SPO I;
                   (5) a derivative federal securities-fraud claim against CRC I;
                   (6) a derivative Colorado securities fraud claim against CRC and Mr.
                       Knobel;
                   (7) a derivative claim to remove CRC I as CRCPS’s general partner; and
                   (8) a direct fraud claim against CRC, CRC I, Waveland Ventures LLC,
                        and Mr. Knobel.
           8
               The Cui Appellants brought:
                   (1) a direct fraud claim against all Appellees;
                   (2) a direct and derivative breach-of-fiduciary-duty claim against CRC
                        and CRC I;
                   (3) a direct Colorado securities fraud claim against all Appellees;
                   (4) a direct federal securities-fraud claim against CRCPS and CRC I;
                   (5) a direct federal securities-fraud claim against all Appellees;
                                                   6
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      Motions to Dismiss and Other Motions

           Appellees moved to dismiss both operative complaints for failure to state a

  claim. CRC I also filed a counterclaim against the Li Appellants after the Li

   Appellants alerted the district court that CRC I had been removed as general partner

   of CRCPS for cause. CRC I argued its removal as general partner was improper.

   The Li Appellants moved to dismiss the counterclaim, and the Cui Appellants moved

   for a receiver to be appointed to manage CRCPS.

           Before the district court ruled on the motions to dismiss, Appellants

   voluntarily dismissed some of their claims. The Li Appellants’ remaining claims

   were:

                 (1) a derivative breach-of-fiduciary-duty claim against CRC I;

                 (2) a derivative civil-theft claim against CRC, SPO, SPO 1, Mr. Knobel,
                     and the “LLC Principals”; 9

                 (3) a derivative breach-of-contract claim against SPO I; 10



                 (6) a direct and derivative breach-of-contract claim against SPO I;
                 (7) a direct and derivative declaratory relief claim against CRC I, SPO,
                      and SPO I; and
                 (8) a direct claim to pierce the corporate veil to hold CRC I’s and SPO
                      I’s owners and members liable.

           The district court dismissed this claim, and the Li Appellants mention it only
           9

  in a footnote in their opening brief. They have thus waived any arguments as to this
  claim. San Juan Citizens All. v. Stiles, 654 F.3d 1038, 1055-56 (10th Cir. 2011)
  (argument raised in a footnote and inadequately developed is waived).

            The district court also dismissed the Li Appellants’ surviving derivative
           10

  breach-of-contract claim against SPO and SPO I for lack of subject-matter
  jurisdiction. The Li Appellants do not challenge this dismissal on appeal.

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                (4) a derivative federal securities-fraud claim against CRC I; and

                (5) a derivative state securities-fraud claim against CRC, its principals,
                     and Mr. Knobel.

         The Cui Appellants’ remaining claims were:

                (1) a direct fraud claim against all Appellees;

                (2) a direct and derivative breach-of-fiduciary-duty claim against CRC
                    and CRC I;

                (3) a direct federal-securities-fraud claim against all Appellees;

                (4) a derivative breach-of-contract claim against SPO I; and

                (5) a direct and derivative claim for declaratory relief against CRCPS,
                     SPO, and SPO I. 11

         The district court granted the Appellees’ motions to dismiss in part and denied

   them in part. It (1) granted the motions as to Appellants’ federal securities-law

   claims; (2) denied the motions as to Appellants’ breach-of-contract claims and the

   Cui Appellants’ declaratory-relief claim against SPO and SPO I; and (3) dismissed

   the remaining state law claims.

         Because only state law claims against SPO and SPO I remained, the court

   ordered the parties to address whether diversity jurisdiction existed, and if not,



         11
            The Cui Appellants pled this as a separate claim for relief under Colo. Rev.
   Stat. § 13-51-106, which allows a plaintiff to “have determined any question of
   construction or validity arising under the instrument, statute, ordinance, contract, or
   franchise and obtain a declaration of rights, status, or other legal relations
   thereunder.” See Villa Sierra Condo. Ass’n v. Field Corp., 878 P.2d 161, 164 (Colo.
   App. 1994) (Section 13-51-106 is “intended to provide a method to relieve parties
   from uncertainty and insecurity with respect to their rights, status, and other legal
   relations” (quotations omitted)).

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   whether it should exercise supplemental jurisdiction over those claims. After

   briefing, the court determined that it lacked diversity subject-matter jurisdiction over

   Appellants’ remaining state law claims against SPO and SPO I, declined to exercise

   supplemental jurisdiction over those claims, and dismissed them.

          The district court next denied the Cui Appellants’ motion to appoint a receiver.

   It also denied the Li Appellants’ motion to dismiss CRC I’s counterclaim. CRC I

   later withdrew its counterclaim.

          The Li Appellants moved for reconsideration of the district court’s dismissal

   of their claims. They also moved for default judgment on their abandoned claim to

   remove CRC I as general partner. The Cui Appellants also renewed their motion for

   appointment of a receiver. The district court denied these motions.

          Finally, the Cui Appellants moved to file a fourth amended complaint, which

   the district court denied.

      Attorney Fees

          Appellees then moved for attorney fees under Colorado law. The district court

   granted their motions in part. It ordered the Li Appellants to pay about $390,000 to

   Waveland Ventures LLC, CRC, and CRC I (collectively “CRC Defendants”) and

   $244,000 to SPO, SPO I, and Mr. Knobel (collectively “SPO Defendants”). It

   ordered the Cui Appellants to pay about $140,000 to the CRC Defendants and

   $77,000 to the SPO Defendants.

          The court separately awarded attorney fees under the Private Securities

   Litigation Award Act (“PSLRA”) against the Appellants’ attorneys. It ordered the Li

                                                  9
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   Appellants’ counsel to pay about $390,000 to the CRC Defendants and $244,000 to

   the SPO Defendants. It ordered the Cui Appellants’ counsel to pay approximately

   $140,000 to the CRC Defendants and $5,000 to the SPO Defendants. The court

   clarified “that the awards [under Colorado law and the PSLRA] were not cumulative,

   and the Defendants are entitled to collect only once on their attorney fees.” App.,

   Vol. XIV at 3911.

         Appellants timely appealed. 12

                                     II. DISCUSSION

         On appeal:

         (A) The Appellants challenge the district court’s Rule 12(b)(6) dismissal of
             their claims for (1) breach of fiduciary duty, (2) federal securities fraud,
             (3) Colorado securities fraud (Li Appellants only), and (4) Colorado
             common law fraud (Cui Appellants only).

         (B) The Cui Appellants argue the district court erred in dismissing their
             remaining state law claims for lack of jurisdiction.

         (C) The Cui Appellants contend the district court abused its discretion in
             denying their motion to file a fourth amended complaint.



         12
             We summarize here our understanding of the district court’s subject-matter
   jurisdiction underlying its orders. Both sets of Appellants filed claims for federal
   securities fraud. The remainder of their claims were based on state law. The district
   court had federal question jurisdiction over the federal securities claims under
   28 U.S.C. § 1331 and 15 U.S.C. §§ 77v and 78aa. It dismissed them under Rule
   12(b)(6). It also dismissed the state law claims against the CRC Defendants and Mr.
   Knobel under Rule 12(b)(6), apparently exercising supplemental jurisdiction under
   28 U.S.C. § 1367. It denied the Rule 12(b)(6) motions to dismiss the derivative state
   breach-of-contract and declaratory-judgment claims against SPO and SPO I. But,
   after asking for supplemental briefing on subject-matter jurisdiction regarding those
   claims, the court determined it lacked diversity jurisdiction under 28 U.S.C. § 1332
   and declined to exercise supplemental jurisdiction under 28 U.S.C. § 1367.

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         (D) The Li Appellants assert the district court improperly denied their motion
             for default judgment on their original claim seeking removal of CRC I as
             general partner.

         (E) The Appellants challenge the district court’s awards of attorney fees.

   We address each issue in turn. 13

                                A. Rule 12(b)(6) Dismissals

         On appeal, both sets of Appellants challenge the dismissal of (1) their breach-

   of-fiduciary-duty claims against CRC I and (2) their federal securities-fraud claims.

   The Li Appellants contest dismissal of (3) their state securities-fraud claim, and the

   Cui Appellants argue against dismissal of (4) their fraud claim. Although many of

   the arguments overlap, we address them based on each separate complaint.

         We review de novo the dismissal of a complaint under Rule 12(b)(6).

   Mayfield v. Bethards, 826 F.3d 1252, 1255 (10th Cir. 2016). “We accept all well-

   pleaded factual allegations in the complaint as true, and we view them in the light

   most favorable to the nonmoving party.” Sinclair Wyo. Refin. Co. v. A&B Builders,

   Ltd., 989 F.3d 747, 765 (10th Cir. 2021) (quotations and alterations omitted). To

   survive a Rule 12(b)(6) motion, a complaint must contain “enough facts to state a

   claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

   544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual

   content that allows the court to draw the reasonable inference that the defendant is


         13
           The Li Appellants listed eight issues in their brief. Li Aplt. Br. at 5-6. The
   Cui Appellants listed seven issues in their brief. Cui Aplt. Br. at 5-6. We have
   consolidated the issues into five categories and have identified those which both sets
   of Appellants raise and those which each of them raise on their own.

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   liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

   “Threadbare recitals of the elements of a cause of action, supported by mere

   conclusory statements, do not suffice.” Id.

         We typically consider “only the contents of the complaint when ruling on a

   12(b)(6) motion.” Berneike v. CitiMortgage, Inc., 708 F.3d 1141, 1146 (10th Cir.

   2013). But we will consider “documents incorporated by reference in the complaint

   [and] documents referred to in and central to the complaint, when no party disputes

   [their] authenticity.” Id.; see Broker’s Choice of Am., Inc. v. NBC Universal, Inc.,

   861 F.3d 1081, 1103 (10th Cir. 2017).

         “[W]e may affirm the judgment on any ground supported by the record” as

   long as the plaintiff “had a fair opportunity to address that ground.” Nakkhumpun v.

   Taylor, 782 F.3d 1142, 1157 (10th Cir. 2015).

         “Federal courts exercising diversity jurisdiction apply the substantive law of

   the forum state . . . .” Sinclair Wyo. Refin. Co., 989 F.3d at 765-66; see Erie R.R. v.

   Tomkins, 304 U.S. 64, 78 (1938). We therefore apply Colorado law to Appellants’

   state law claims.

      Breach-of-Fiduciary-Duty Claims

         a. Legal background

                i. Economic loss rule

         To state a breach-of-fiduciary-duty claim, a plaintiff must allege (1) “the

   defendant was acting as a fiduciary of the plaintiff,” (2) “[the defendant] breached a

   fiduciary duty to the plaintiff,” (3) “the plaintiff incurred damages,” and (4) “the

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   defendant’s breach of fiduciary duty was a cause of the plaintiff’s damages.” Taylor

   v. Taylor, 381 P.3d 428, 431 (Colo. App. 2016) (quotations and emphases omitted).

   This claim may be based on breach of a contractual duty or breach of a tort duty.

   Compare Casey v. Colo. Higher Educ. Ins. Benefits All. Tr., 310 P.3d 196, 204 (Colo.

   App. 2012) (breach of fiduciary duty could support a breach-of-contract claim), with

   Castro v. Lintz, 338 P.3d 1063, 1069 (Colo. App. 2014) (construing breach-of-

   fiduciary-duty claim as a tort claim).

         The Appellants’ challenge to dismissal of their fiduciary-duty claims

   implicates the “economic loss rule,” which bars a party to a contract from using a tort

   claim to recover contract damages unless the party can show it is owed an

   independent duty in tort creating a separate entitlement to those damages.

         Under the economic loss rule, if a plaintiff alleges “only economic loss from

   the breach of an express or implied contractual duty,” he or she “may not assert a tort

   claim for such a breach absent an independent duty of care under tort law.” Town of

   Alma v. AZCO Const., Inc., 10 P.3d 1256, 1264 (Colo. 2000). “Economic loss is

   defined generally as damages other than physical harm to persons or property.” Id.

   To be independent of a contractual duty, the duty must (1) “arise from a source other

   than the relevant contract,” and (2) “not be a duty also imposed by the contract.”

   Haynes Trane Serv. Agency, Inc. v. Am. Standard, Inc., 573 F.3d 947, 962 (10th Cir.

   2009) (applying Colorado law). “Fiduciary relationships may be the kind of special

   relationship that will trigger an independent common law duty of care,” but “not



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   every fiduciary relationship implicates a risk of damages for which contract law

   cannot provide a remedy.” Casey, 310 P.3d at 202-03 (quotations omitted).

                ii. Federal Rule of Civil Procedure 23.1 and the contemporaneous
                    ownership rule

         The fiduciary-duty claims also implicate Federal Rule of Civil Procedure

   23.1(b), known as the contemporaneous ownership rule. Bangor Punta Operations,

   Inc. v. Bangor & A. R. Co., 417 U.S. 703, 708 n.4 (1974). It provides that a plaintiff

   bringing a derivative action must allege that he or she “was a shareholder or member

   at the time of the transaction complained of.” Fed. R. Civ. P. 23.1(b) 14 Rule 23.1 is

   a procedural rule, but we apply the state’s substantive law in determining whether the

   transaction at issue occurred while the plaintiff was a shareholder or member. Cadle

   v. Hicks, 272 F. App’x 676, 678-79 (10th Cir. 2008) (unpublished) (cited as

   instructive under Fed. R. App. P. 32.1; 10th Cir. R. 32.1(A)).

         b. Analysis

         In their complaint, the Li Appellants brought derivative-breach-of-fiduciary-

   duty claims against CRC I. They alleged that CRC I, acting as general partner of

   CRCPS, failed to adequately ensure that the loan agreement with the SPO Defendants

   was sufficiently collateralized. They also alleged that CRC I breached its fiduciary

   duty in failing to demand complete repayment of the loan and by providing

   misleading information about it.


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            Under Colorado’s limited partnership statute, “‘Member’ means a general
   partner or a limited partner.” Colo Rev. Stat. § 7-61-102(2).

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         The Cui Appellants separately brought both direct and derivative breach-of-

   fiduciary-duty claims against the CRC Defendants. They alleged that the CRC

   Defendants provided them with misleading marketing materials and took advantage

   of the Cui Appellants’ lack of English proficiency to convince them to invest in the

   limited partnership.

         The district court dismissed the breach-of-fiduciary-duty claims on two

   grounds. First, the court read both complaints as asserting the claims under tort law.

   It concluded the economic loss rule barred the claims because the CRC Defendants’

   duties arose from contract. Second, the court held that many of the allegations

   supporting the Li Appellants’ claim and all of the allegations supporting the Cui

   Appellants’ derivative claim stemmed from the CRC Defendants’ conduct that

   preceded the plaintiffs’ investments in the limited partnership. Thus, under Federal

   Rule of Civil Procedure 23.1, the court held that Appellants could not recover based

   on those allegations.

         Appellants argue the district court erred in construing their allegations as

   arising under tort and not under contract. They contend their complaints make clear

   that their breach-of-fiduciary-duty claims arose from contract and are therefore

   properly construed as breach-of-contract claims. And because their claims are

   contractual, Appellants argue the economic loss rule does not bar their claims.

   Appellants also contend the district court improperly applied Rule 23.1.




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                  i. Li Appellants

         The Li Appellants brought this claim derivatively against CRC I, arguing it

   breached its fiduciary duty to CRCPS and therefore violated its contractual

   obligations.

         We employ a three-step analysis to determine whether the district court

   properly dismissed the Li Appellants’ breach-of-fiduciary-duty claim. First, we

   determine this is a contract claim, not, as the district court concluded, a tort claim

   subject to the economic loss rule. So the district court should not have dismissed it

   on that ground. Second, because part of this claim was based on alleged misconduct

   that occurred before the Li Appellants invested in CRCPS, the district court correctly

   determined that Rule 23.1 and the “contemporaneous ownership rule” barred that part

   of the claim. Third, we conclude that the remaining post-investment allegations

   stated a claim for breach of contract. We thus affirm the district court’s dismissal of

   the pre-investment allegations supporting the claim and reverse the dismissal of the

   post-dismissal allegations.

                        1) The contractual nature of the Li Appellants’ claim

         Construing the complaint in the light most favorable to the Li Appellants, see

   Sinclair Wyo. Refin. Co., 989 F.3d at 765, we conclude that it pled a breach-of-

   contract claim rather than a tort claim. The Li Appellants’ complaint labeled its

   claim as a “Breach of Fiduciary Duty arising by Contract and Statute.” App., Vol. II

   at 299 (emphasis added). In describing this count, the complaint identified the

   contractual language creating the fiduciary relationship. Id. at 300 ¶ 114 (“The

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   CRCPS [Partnership Agreement] at Section 8.04 states that ‘In carrying out their

   duties and exercising their powers hereunder, the General Partner [CRC I] shall

   exercise reasonable skill, care, and business judgment.”). It then described CRC’s

   breaches as “contractual and fiduciary.” Id. at 301 ¶ 126. Finally, the complaint

   sought damages equaling the “shortfall between what it would have received i[f] the

   Loan had been paid in cash versus the value of what it actually received (hereafter,

   the ‘Damages’).” Id. at 302 ¶ 129. These allegations show that the legal predicate

   for the Li Appellants’ breach-of-fiduciary-duty claim was contract, not tort.

          Casey v. Colorado Higher Education Institute is instructive. 310 P.3d 196

   (Colo. App. 2012). There, the plaintiffs brought a breach-of-contract claim alleging

   the defendants breached their fiduciary duties. Id. at 201. The defendants responded

   that, by alleging breach of fiduciary duties, the claim was based on tort and thus was

   barred. Id. The Colorado Court of Appeals rejected this argument, concluding that

   the “[t]he complaint does not allege a tort claim for breach of fiduciary duty against

   the trustees. Rather it alleges that the trustees breached the contract . . . by ‘failing to

   perform their contractual obligations, including contractually imposed fiduciary

   duties.’” Id. at 203 (alterations omitted). Because the complaint referred to the

   specific contractual duties creating the fiduciary duty, the court concluded it was a

   contractual claim. Id. The Li complaint similarly alleged a breach of fiduciary duty

   that breached the parties’ contract.

          Appellees’ assertion that the Li Appellants alleged a tort-based breach of

   fiduciary duty is not persuasive.

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         First, they point to the Li Appellants’ colloquy with the district court at the

   motion-to-dismiss hearing where counsel confirmed to the district court that the

   claim was a breach-of-fiduciary-duty claim. Appellees argue that the Li Appellants

   should have clarified then that its claim arose from contract or statute. But the Li

   Appellants were not asked whether the claim arose from tort or contract. They were

   asked only whether it was a breach-of-fiduciary-duty claim, and they confirmed it

   was. App., Vol. X at 2723. Their response did not contradict the plain language of

   their complaint, which governs in any event.

         Second, Appellees argue that the Li Appellants’ assertion of breach-of-contract

   claims against SPO I shows that they knew how to assert breach-of-contract claims.

   But Appellees fail to explain how the Li Appellants’ assertion of a breach-of-contract

   claim elsewhere in their complaint affects the substance of this claim.

         We conclude that the complaint alleged a contractual breach-of-fiduciary-duty

   claim and is thus not subject to the economic loss rule. The district court erred in

   dismissing the claim on this ground.

                       2) Rule 23.1

         The Li complaint alleged pre-investment misconduct as the basis for CRC I’s

   breach of its fiduciary duties. Rule 23.1 barred its derivative claim based on these

   allegations. The complaint alleged that CRC I willfully and negligently structured

   the Loan Agreement with SPO. App., Vol. II at 300 ¶ 118. Because this alleged

   misconduct predated the Li Appellants’ investment, the district court dismissed these

   allegations. The Li Appellants contend the transaction supporting their derivative

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   claim did not occur until they purchased the ownership stake in CRCPS. We

   disagree.

         The Loan Agreement was executed on November 5, 2010. Id. at 276 ¶ 31. Per

   the Li complaint, no investors, including the Li Appellants, received marketing

   materials regarding the limited partnership stakes until after the Loan Agreement’s

   execution. Id. at 285 ¶ 61. Thus, the Li Appellants did not own any interest in

   CRCPS when the transaction complained of—the Loan Agreement—was executed.

         The Li Appellants cite Elk River Assocs. v. Huskin, 691 P.2d 1148 (Colo. App.

   1984), to argue that CRC I’s fiduciary obligation to the investors predated their

   actual investment. Li Aplt. Br. at 32. Huskin said “a fiduciary relationship between

   the parties to a limited partnership can attach during the negotiations which precede

   formal execution of the certificate of limited partnership.” 691 P.2d at 1152. This

   argument fails for two reasons.

         First, the Li Appellants sued derivatively on behalf of CRCPS, so the relevant

   fiduciary duty is not between the limited partners and the general partner but between

   the general partner and the CRCPS partnership. See Burks v. Lasker, 441 U.S. 471,

   477 (1979) (“A derivative suit is brought by shareholders to enforce a claim on

   behalf of the corporation.”); Colo. Rev. Stat. § 7-62-1001(1) (Colorado law

   permitting limited partners to bring derivative suits on behalf of the limited

   partnership). Because the Li Appellants were not limited partners of CRCPS when

   the Loan Agreement was executed, they could not sue CRC I on behalf of CRCPS.



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         Second, even assuming the fiduciary relationship between the Li Appellants

   and CRC I began during negotiations to sell the limited partnership interests in

   CRCPS and that the Li Appellants were suing directly, the negotiations did not begin

   until after execution of the Loan Agreement. Thus, Rule 23.1(b) barred the Li

   Appellants’ pre-investment derivative claims.

                        3) Remaining post-investment allegations

         Turning to the Li Appellants’ remaining, post-investment allegations, we

   conclude they plausibly stated a claim for breach of contract.

         To plausibly state a breach of contract, a plaintiff must allege “(1) the

   existence of a contract; (2) performance by the plaintiff or some justification for

   nonperformance; (3) failure to perform the contract by the defendant; and

   (4) resulting damages to the plaintiff.” Marquardt v. Perry, 200 P.3d 1126, 1129

   (Colo. App. 2008).

         The Li complaint alleged that (1) the Partnership Agreement was the contract

   governing the relationship between CRCPS and CRC I, App., Vol. II at 300 ¶ 114;

   (2) CRCPS paid management fees to CRC I, id. at 298 ¶ 104; (3) in failing to honor

   its fiduciary duties, CRC I failed to perform the contract, id. at 300-01 ¶¶ 114-18,

   126; and (4) CRCPS incurred damages resulting from the breach. Id. at 302 ¶ 129.

   The Li complaint thus plausibly alleged a breach of contract.

                                       *    *    *    *

         In sum, the breach-of-fiduciary-duty claim was validly pled as a contract

   claim, but Rule 23.1(b) barred the pre-investment part of the claim. We therefore

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   reverse the district court’s dismissal of the Li Appellants’ breach-of-fiduciary-duty

   claims for allegations relating to post-investment conduct.

                ii. Cui Appellants

         In contrast, the Cui Appellants’ complaint failed to allege a contractual breach-

   of-fiduciary-duty claim and was thus subject to the economic loss rule. The Cui

   complaint described this count generally as a breach of fiduciary duty by CRC and

   CRC I. App., Vol. VI at 1585. It did not mention any contractual creation of the

   fiduciary duty. Indeed, the Cui complaint stated that CRC owed the Cui Appellants a

   duty “[a]s the regional center entrusted by the Plaintiffs to oversee their investment.”

   Id. at 1586 ¶ 107. Thus, the complaint on its face does not allege a fiduciary duty

   arising out of contract.

         Because the Cui Appellants’ claim arises out of tort, we must apply the

   economic loss rule. As described above, the rule bars recovery for economic losses

   under tort if the breach stemmed from a breach of a contractual duty. Town of Alma,

   10 P.3d at 1264. Here, the breach stemmed from a breach of contract, and the Cui

   complaint alleged only economic losses. Thus, the economic loss rule barred the Cui

   Appellants’ breach-of-fiduciary-duty claim. We therefore affirm the district court’s

   dismissal of the Cui Appellants’ breach-of-fiduciary-duty claim.




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      Federal Securities-Fraud Claims

          The Li Appellants appeal the dismissal of their derivative federal securities-

   fraud claim against CRC I. The Cui Appellants appeal dismissal of their direct

   federal securities-fraud claim against all Appellees. 15 We affirm the district court.

          a. Li Appellants

          The Li Appellants brought a derivative federal securities-fraud claim only

   against CRC I. They allege that CRC I made material misrepresentations to the

   limited partners to induce them to exercise their put options at a loss. The district

   court dismissed their claim because it (1) was barred under the statute of repose and

   (2) was not a proper derivative claim. We affirm on the second ground and do not

   address the first.

          A derivative action “permits an individual shareholder to bring ‘suit to enforce

   a corporate cause of action against officers, directors, and third parties.’” Kamen v.

   Kemper Fin. Servs., Inc., 500 U.S. 90, 95 (1991) (quoting Ross v. Bernhard, 396 U.S.

   531, 534 (1970)). The derivative action allows an individual shareholder “to protect

   the interests of the corporation from the misfeasance and malfeasance of faithless

   directors and managers.” Id. (emphasis added) (quotations omitted). 16




           The Cui complaint also included a direct federal securities-fraud claim under
          15

   15 U.S.C. § 80a against CRCPS and CRC I in its capacity as the general partner. The
   Cui Appellants do not raise this claim on appeal.
          16
            We treat limited partnerships and corporations the same for purposes of a
   derivative suit. See Fed. R. Civ. P. 23.1(a) (treating unincorporated associations and
   corporations similarly for derivative suits); Colo. Rev. Stat. § 7-60-106(1) (defining a
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          Here, the Li Appellants’ securities-fraud claim did not allege violations by

   CRC I against CRCPS. Instead, they alleged harms that CRC I and CRCPS caused

   the investors directly. For instance, the Li complaint alleged that “CRCPS - acting

   through CRC1 - issued an offering of securities when it granted a put right to each

   limited partner to ‘put’ his unit back to CRCPS.” App., Vol. II at 310 ¶ 187. In

   making this “offering of the put option to investors,” the Li complaint alleged, “CRC

   failed to explain the history and method by which it was over-valuing the collateral.”

   Id. at 310-11 ¶ 189 (emphasis added), see also id. at 311 ¶ 190 (“CRC never

   explained clearly to investors the implications of allowing SPO to recharacterize the

   loan (a debt) as ‘investors equity.’ . . . This is a material omission of fact to induce

   the limited partners to invest and stay in the transaction which has caused them

   continuing detriment.” (emphasis added)). These allegations described a direct and

   not a derivative claim. They do not allege any harm caused to CRCPS. It was thus

   an improper derivative claim, and the district court properly dismissed it.

          b. Cui Appellants

          The Cui Appellants brought direct federal securities-fraud claims against all

   Appellees. They allege that Appellees made material misrepresentations to convince

   them to purchase their limited partnership interests in CRCPS. 17 The district court




   limited liability partnership as an association). The parties do not dispute this
   approach.
          17
            The Cui Appellants’ complaint also alleged that Appellees violated section
   78o of the Federal Securities Act by selling securities without being registered. They
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   dismissed their claim after concluding it was barred under the statute of repose. We

   agree.

            “A statute of repose . . . puts an outer limit on the right to bring a civil action.”

   CTS Corp. v. Waldburger, 573 U.S. 1, 8 (2014). Unlike a statute of limitations,

   whose limit begins after a claim accrues, a statute of repose’s limit is measured “from

   the date of the last culpable act or omission of the defendant.” Id. Thus, it bars “any

   suit that is brought after a specified time since the defendant acted . . . , even if this

   period ends before the plaintiff has suffered a resulting injury.” Id. (quotations

   omitted).

            Under 28 U.S.C. § 1658(b)(2), a plaintiff alleging a federal securities violation

   may not bring a private cause of action later than “5 years after such violation.”

   Before the district court, the Cui Appellants did not dispute Appellees’ assertion that

   they purchased their limited partnerships in 2012. App., Vol. XI at 2955 n.43. They

   thus needed to bring their claims no later than 2017, but they failed to file their

   complaint until 2019. The Cui Appellants’ federal securities-fraud claim was

   therefore time-barred. 18




   do not present any argument regarding these allegations on appeal, so they have
   abandoned this claim.

             The Cui Appellants incorporate the Li Appellants’ arguments regarding the
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   statute of repose. They suggest that Appellees’ 2016-2019 notices offering to allow
   limited partners to exercise their put options each constituted a new security. But the
   Cui complaint alleged only that the security at issue was the 2012 sale of the limited
   partnership interest.

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      Li Appellants’ Colorado Securities-Fraud Claim

         The Li Appellants brought a derivative securities-fraud claim under the

   Colorado Securities Act against CRC, its principals, and Mr. Knobel. Their

   allegations were identical to their federal securities-fraud claims: CRC, along with

   Mr. Knobel, “sent misleading and fraudulent valuations to investors in connection

   with an attempt to get them to exercise a put option offered to them, which would

   cause a loss to each investor.” App., Vol. II at 312 ¶ 200.

         As with their federal securities-fraud claims, Appellants failed to allege a

   derivative action. They alleged that they, as investors, suffered harms, not CRCPS.

   We thus affirm the dismissal of their Colorado Securities Act derivative fraud claims.

      Cui Appellants’ Fraud Claims

         The Cui Appellants appeal dismissal of their Colorado fraud claim against all

   Appellees. To state a fraud claim under Colorado law, a plaintiff must allege (1) “the

   defendant misrepresented a material fact,” (2) “the defendant knew the representation

   was false,” (3) the plaintiff “did not know the representation was false,” (4) “the

   defendant made the misrepresentation intending that the [plaintiff] act on it,” and

   (5) “damages resulted from the [plaintiff’s] reliance.” Loveland Essential Grp., LLC

   v. Grommon Farms, Inc., 251 P.3d 1109, 1116 (Colo. App. 2010).

         A plaintiff asserting a fraud claim must satisfy the heightened pleading

   requirements of Federal Rule of Civil Procedure 9(b). Under Rule 9(b), the plaintiff

   “must state with particularity the circumstances constituting fraud or mistake.” Fed.

   R. Civ. P. 9(b). We have interpreted this Rule to require a plaintiff to “set forth the

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   time, place, and contents of the false representation, the identity of the party making

   the false statements and the consequences thereof.” Toone v. Wells Fargo Bank,

   N.A., 716. F.3d 516, 522 (10th Cir. 2013) (quotations omitted); United States ex rel.

   Polukoff v. St. Mark’s Hosp., 895 F.3d 730, 745 (10th Cir. 2018) (allegations of fraud

   must “provide factual allegations regarding the who, what, when, where and how of

   the alleged claims” (quotations and alterations omitted)).

         The district court dismissed the Cui Appellants’ fraud claim after determining

   the Cui complaint failed to meet Rule 9(b)’s heightened pleading standard. The Cui

   Appellants contend the complaint adequately alerted Appellees to the nature of their

   claim, and any deficiency in the pleadings resulted from asymmetric information.

   We agree with the district court.

         As the district court determined, the Cui Appellants’ allegations lacked the

   specificity needed to allege fraud. For instance, the complaint alleged that Waveland

   LLC “colluded with SPO to defraud the EB–5 investors by misrepresenting to them

   that the Loan was 100% collateralized and safe.” App., Vol. VI at 1564-65 ¶ 9. But

   this allegation contained no specifics regarding which statements were fraudulent,

   nor did it identify when or where the false representation was made. Elsewhere in

   the complaint, the Cui Appellants identified numerous purported misrepresentations

   in a marketing presentation to potential investors by Appellees’ agents, id. at 1573-75

   ¶¶ 65-66, but the complaint again failed to identify where, when, and to whom the

   misrepresentations were made. Indeed, as the district court noted, the complaint



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   failed to allege that any of the Cui Appellants attended this presentation. These

   allegations lack the requisite specificity to allege a fraud claim.

         The Cui Appellants argue we should relax Rule 9(b)’s heightened pleading

   standard because Appellees were better placed to have details regarding their

   fraudulent scheme. We have held that “courts may consider whether any pleading

   deficiencies resulted from the plaintiff’s inability to obtain information in the

   defendant’s exclusive control.” Polukoff, 895 F.3d at 745 (quotations omitted). But

   the Cui Appellants’ complaint was deficient, not because they lacked information in

   Appellees’ exclusive control, but because they failed to identify necessary

   information that was squarely within their knowledge, such as the dates, locations,

   and identities of relevant actors. We thus affirm the district court’s dismissal of the

   Cui Appellants’ fraud claim.

                   B. Dismissal of State Claims for Lack of Jurisdiction

          After the district court denied the motion to dismiss the Li Appellants’

   derivative breach-of-contract claim and the Cui Appellants’ derivative breach-of-

   contract and declaratory-judgment claims against SPO and SPO I, it ordered the

   parties to address whether it had diversity jurisdiction over these claims, and if not,

   whether it should exercise supplemental jurisdiction.

          After briefing, the district court concluded that because the Appellants’

   remaining claims were derivative in nature, it had to determine whether to align

   CRCPS as a plaintiff or a defendant. It concluded CRCPS’s interests were adverse to

   the Appellants’ interests, so the court aligned it as a defendant. And because

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   CRCPS, as a limited partnership, takes on the citizenship of its limited partners, see

   Carden v. Arkoma Assocs., 494 U.S. 185, 195-96 (1990), the court concluded it had

   the same citizenship as the Appellants. It therefore determined it lacked subject-

   matter jurisdiction. It then declined to exercise supplemental jurisdiction under

   28 U.S.C. § 1367(c)(3). 19

         On appeal, the Li Appellants do not challenge the dismissal of their derivative

   breach-of-contract claim against SPO and SPO I for lack of subject-matter

   jurisdiction. We thus limit our analysis to the Cui Appellants’ challenge to the

   dismissal of their derivative breach-of-contract and declaratory-judgment claims

   against SPO and SPO I for lack of subject-matter jurisdiction. 20 The Cui Appellants

   do not address the district court’s determination of CRCPS’s alignment or its

   citizenship. Instead, they focus on the diversity of citizenship between themselves

   and the SPO Defendants. Because the district court determined CRCPS and the Cui

   Appellants shared the same citizenship and therefore there was no complete diversity,

   the citizenship of SPO is not material to its holding that there was no diversity

   jurisdiction. See Strawbridge v. Curtiss, 7 U.S. (3 Cranch) 267 (1806). Because the

   Cui Appellants fail to dispute the alignment and citizenship of CRCPS, they have


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             On appeal, the Appellants do not challenge this declination of supplemental
   jurisdiction.
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            In their reply brief, the Cui Appellants argue they alleged both direct and
   derivative claims that survived the motion to dismiss. This is incorrect. The district
   court dismissed the direct claims under Rule 12(b)(6) and left only the derivative
   claims.

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   waived their challenge to the district court’s dismissal for lack of subject-matter

   jurisdiction. Krastev v. INS, 292 F.3d 1268, 1280 (10th Cir. 2002) (“Issues not raised

   on appeal are deemed to be waived.”). Any such challenge would fail in any event.

                              C. Leave to Amend the Complaint

         The Cui Appellants argue the district court should have granted their motion

   for leave to file a fourth amended complaint. “A district court should refuse leave to

   amend only upon a showing of undue delay, undue prejudice to the opposing party,

   bad faith or dilatory motive, failure to cure deficiencies by amendments previously

   allowed, or futility of amendment.” Wilkerson v. Shinseki, 606 F.3d 1256, 1267

   (10th Cir. 2010) (quotations and alterations omitted). “We ordinarily apply the

   abuse-of-discretion standard when reviewing a denial of leave to amend.” Moya v.

   Garcia, 895 F.3d 1229, 1239 (10th Cir. 2018).

         In a June 14, 2021 order, 21 the district court denied the Cui Appellants’ motion

   for leave to amend. It reasoned that amendment would be futile based on (1) its

   dismissal of the Cui Appellants’ breach-of-fiduciary-duty and fraud claims with

   prejudice, (2) its refusal to exercise supplemental jurisdiction over the surviving state

   law claims, and (3) the Cui Appellants’ previous three amendments of their

   complaint. See Anderson v. Suiters, 499 F.3d 1228, 1238 (10th Cir.2007) (a district

   court may deny a motion to amend a complaint if the amendment would be futile, and




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              Issued the same day the court entered final judgment.

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   “[a] proposed amendment is futile if the complaint, as amended, would be subject to

   dismissal” (quotations omitted)). We view the request to amend differently.

         The Cui Appellants proposed to amend their complaint to state a breach-of-

   contract claim based on CRC I’s breach of its contractual fiduciary duty. As we

   explained above in our discussion of the Li Appellants’ fiduciary-duty claim, such a

   claim is not subject to the economic loss rule. In short, the proposed amended

   complaint does not appear to be futile, and “[i]f a proposed amendment is not clearly

   futile, then denial of leave to amend is improper.” Seale v. Peacock, 32 F.4th 1011,

   1029 (10th Cir. 2022) (quoting Wright & Miller, Federal Practice & Procedure

   § 1487). We reverse the district court’s denial of the Cui Appellants’ request for

   leave to amend and remand for further consideration.

                              D. Motion for Default Judgment

         The Li Appellants challenge the district court’s refusal to enter default

   judgment in their favor on their abandoned claim to remove CRC I as general partner

   of CRCPS. They initially included a count in their operative complaint seeking

   removal of CRC I as general partner. But they voluntarily dismissed this count.

   App., Vol. VIII at 2090. After CRC I filed a counterclaim seeking a declaratory

   judgment that its purported removal was improper, the Li Appellants moved to

   dismiss the counterclaim and “for [an] order declaring general partner removed

   instanter.” Id. at 2079.

         The district court denied the Li Appellants’ motion to dismiss the counterclaim

   and their request for a declaration stating that CRC I was properly removed as

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   general partner. After this ruling, CRC I voluntarily dismissed its counterclaim. The

   Li Appellants then moved for entry of default judgment ordering the removal of CRC

   I as general partner. The court denied their motion during a hearing. See App., Vol.

   XIII at 3420-69.

         The Li Appellants argue this denial was erroneous. They appear to suggest

   that CRC I’s voluntary dismissal amounted to a concession that its removal was

   proper. But as Appellees point out, the Li Appellants had already dismissed their

   claim seeking removal of CRC I as general partner. The district court thus had no

   claims involving removal of CRC I before it, let alone a claim adjudicated in the Li

   Appellants’ favor. In short, when the Li Appellants moved for default judgment,

   there was no pending claim on which judgment could be entered. We therefore

   affirm.

                                      E. Attorney Fees

         The district court awarded attorney fees under Colorado law and the PSLRA.

   We vacate the attorney fees and remand to the district court for further proceedings. 22

         “[A]lthough this appeal involves the review of an award of attorneys’ fees

   under state law, the standard of review under which we review an award of fees is a

   procedural matter controlled by federal precedent.” Xlear, Inc. v. Focus Nutrition,

   LLC, 893 F.3d 1227, 1233 (10th Cir. 2018). “We review the decision to award


         22
             Nothing in our Order and Judgment should prevent the district court from
   revisiting whether it should award attorney fees under Colorado law or the PSLRA at
   the conclusion of proceedings on remand.

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   attorney fees, and the amount awarded, for abuse of discretion.” United Phosphorus,

   Ltd. v. Midland Fumigant, Inc., 205 F.3d 1219, 1232 (10th Cir. 2000). “A district

   court abuses its discretion if it commits legal error, relies on clearly erroneous factual

   findings, or issues a ruling without any rational evidentiary basis.” Xlear, Inc., 893

   F.3d at 1233. “Whether a litigant is a ‘prevailing party’ is a legal question we review

   de novo.” Id.

      Colorado Law

         Under Colorado law, if a court grants a motion to dismiss a tort action, the

   “defendant shall have judgment for his reasonable attorney fees in defending the

   action.” Colo. Rev. Stat. § 13-17-201(1).

         If a plaintiff has pled tort and non-tort claims, the court must determine

   “whether the essence of that party’s action was one in tort.” Gagne v. Gagne, 338

   P.3d 1152, 1167 (Colo. App. 2014). The court first assesses “whether the ‘essence of

   the action’ is tortious in nature (whether quantitatively by simple number of claims or

   based on a more qualitative view of the relative importance of the claims).” Id. at

   1168 (quotations omitted). If this assessment fails to give a definitive answer, the

   court must then determine “whether tort claims were asserted to unlock additional

   remedies.” Id. (quotations omitted).

         If the court determines the essence of the action was tortious, then attorney

   fees are mandatory. See Luskin Daughters 1996 Tr. v. Young, 448 P.3d 982, 987

   (Colo. 2019). A court must also award attorney fees to a defendant even if claims

   remain live against a co-defendant. See Stauffer v. Stegemann, 165 P.3d 713, 718

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   (Colo. App. 2006). But “the statute does not authorize recovery if a defendant

   obtains dismissal of some, but not all, of a plaintiff’s tort claims.” Colorado Special

   Districts Prop. & Liab. Pool v. Lyons, 277 P.3d 874, 885 (Colo. 2012).

          a. Li Appellants

          Because we reverse dismissal of the Li Appellants’ breach-of-fiduciary-duty

   claim because the district court misconstrued it as a tort claim rather than as a

   contract claim, we vacate the attorney fee award. As discussed, Colorado law does

   not permit an award of attorney fees if some of the plaintiff’s claims remain live.

   Falcon Broadband, Inc. v. Banning Lewis Ranch Metro. Dist. No. 1, 474 P.3d 1231,

   1244-45 (Colo. App. 2018) (statute does not apply “if the court doesn’t dismiss all

   the tort claims against a certain defendant or if an action contains both tort and non-

   tort claims and the defendant obtains C.R.C.P 12(b) dismissal of only the tort claims”

   (quotations omitted)). Our reversal revives the breach-of-fiduciary-duty claim. We

   therefore vacate the award of attorney fees under Colorado law.

          b. Cui Appellants

          Similarly, because we reverse and remand on the Cui Appellants’ motion for

   leave to amend their complaint, we vacate the award of attorney fees under Colorado

   law.

          As discussed, Colorado law awards attorney fees for a tort action when the

   “action is dismissed on motion of the defendant.” Colo. Rev. Stat. § 13-17-201(1).

   But because we reverse the district court’s denial of the Cui Appellants’ proposed



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   amendment, which includes a breach-of-fiduciary-duty claim arising under contract,

   the statutory basis for the attorney fee award no longer applies.

      Federal Law

         The PSLRA requires a court, “upon final adjudication of the action,” to make

   “specific findings regarding compliance by each party and each attorney representing

   any party with each requirement of Rule 11(b) of the Federal Rules of Civil

   Procedure as to any complaint, responsive pleading, or dispositive motion.”

   15 U.S.C. § 78u-4(c)(1). If the court finds that a party violated Rule 11(b), it “shall

   impose sanctions on such party or attorney.” 15 U.S.C. § 78u-4(c)(2). Unlike other

   sanctions provisions, the PSLRA imposes a presumption in favor of sanctions. Id.

   § 78u-4(c)(3).

         After making its dismissal rulings and concluding that no claims were pending,

   the district court ordered the parties to address whether it should award attorney fees

   under the PSLRA. The court concluded that four of the Li Appellants’ five claims—

   including their federal securities claim—were frivolous and thus warranted a

   sanctions award.

         As to the Cui Appellants, the court concluded that two of the five claims it

   adjudicated—including the federal securities claim—were frivolous. The court

   determined that the Cui Appellants’ claims against the CRC Defendants contained

   substantial defects and that the Cui Appellants failed to rebut the presumption in

   favor of sanctions. But it concluded the Cui Appellants’ claims against the SPO

   Defendants were not as defective, so it awarded lower sanctions.

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          The court then ordered (1) the Li Appellants’ counsel to pay about $390,000 to

   CRC Defendants and $244,000 to SPO Defendants; and (2) the Cui Appellants’

   counsel to pay about $140,000 to CRC Defendants and $5,000 to SPO Defendants.

          a. Li Appellants

          Because we reverse the district court’s dismissal of one of the Li Appellants’

   claims, we vacate the PSLRA fee award. The PSLRA provides that, “[i]n any private

   action arising under” the securities statutes, the district court must award attorney

   fees “upon final adjudication of the action.” 15 U.S.C. § 78u-4(c)(1). The parties

   have not briefed, and the district court did not address whether “final adjudication of

   the action” refers solely to federal securities-law claims or whether it refers to the

   entire action. If it refers to the latter, our reversal of the district court’s dismissal of

   the Li Appellants’ breach-of-fiduciary-duty claims means that adjudication of the

   action is not final. 23 On remand, the district court must determine whether it must

   first resolve the Li Appellants’ surviving breach-of-fiduciary-duty claim before

   assessing attorney fees under the PSLRA. 24


          23
             We note the case law understanding of 15 U.S.C. § 78u-4(c)(1) is unsettled.
   The Fourth Circuit has said, but only in dicta, that the PSLRA “applies to any action
   with a claim arising under Chapter 2B of Title 15 of the U.S. Code, 15 U.S.C. § 78a
   et seq.” Morris v. Wachovia Sec., Inc., 448 F.3d 268, 276 (4th Cir. 2006). Relatedly,
   district courts have attempted to address the meaning of “final adjudication.” See
   Blaser v. Bessemer Tr. Co., 2002 WL 31359015, at *3 (S.D.N.Y. 2002) (noting
   “there is little case law on its meaning”); Manchester Mgmt. Co., LLC v. Echo
   Therapeutics, Inc., 297 F. Supp. 3d 451, 465 (S.D.N.Y. 2018); Great Dynasty Int’l
   Fin. Holdings Ltd. v. Haiting Li, 2014 WL 3381416, at *5 (N.D. Cal. 2014).
          24
            The district court concluded that the breach-of-fiduciary-duty claim was
   frivolous, which is not correct in light of our reversal. We affirm the dismissal of the
                                                    35
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         b. Cui Appellants

         Because we reverse the district court’s order denying the Cui Appellants leave

   to amend their complaint, we vacate the district court’s PSLRA fee award. As with

   the award against the Li Appellants, the district court must determine whether “final

   adjudication of the action” refers solely to the Cui Appellants’ federal securities-law

   claim or whether it covers the entire complaint.

                                    III. CONCLUSION

         In sum, we

         (A) affirm the district court’s dismissal of Appellants’ claims under Federal
             Rule of Civil Procedure 12(b)(6) except for the Li Appellants’ claim for
             breach of fiduciary duty, which we affirm in part and reverse in part;

         (B) affirm dismissal of the Cui Appellants’ remaining state law claims for
             lack of jurisdiction;

         (C) reverse the district court’s dismissal of the Cui Appellants’ motion to
             amend their complaint;




   derivative federal securities-law claim because it did not allege harm to CRCPS, the
   limited partnership. But the district court may have awarded fees on a faulty basis
   because it seems to have broadly concluded that a derivative federal-securities law
   claim against a general partner would be a suit against the limited partnership itself
   and could not be maintained even if it alleged damage to CRCPS. App., Vol. XIV at
   3823 (“It was not objectively reasonable for Li Plaintiffs to sue CRC I derivatively
   on behalf of CRCPS for alleged securities violations.”).
          The case law indicates that investors may pursue derivative federal-securities
   law claims against a corporate manager (here, the general partner, CRC I) for alleged
   harm to the corporation (here, the limited partnership, CRCPS). See Frankel v.
   Slotkin, 984 F.2d 1328, 1332-33 (2nd Cir. 1993) (plaintiff could maintain derivative
   federal-securities law claim against majority shareholder by showing damage to the
   corporation); Hill v. Vanderbilt Cap. Advisors, LLC, 834 F. Supp. 2d 1228, 1268-69
   (D.N.M. 2011) (other circuits have established that federal securities-law claims may
   be pursued derivatively).
                                                 36
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         (D) affirm the district court’s denial of the Li Appellants’ motion for default
             judgment; and

         (E) vacate the awards of attorney fees. 25

         The following chart lists the issues presented on appeal and our dispositions:

                    Appeal Issue                   Li Appellants        Cui Appellants
       (A)         Rule 12(b)(6) Dismissal of:
             (1)   Breach of fiduciary duty       Affirmed in part         Affirmed
                                                  Reversed in part
             (2)   Federal securities fraud            Affirmed            Affirmed
             (3)   Colorado securities fraud           Affirmed              N/A
             (4)   Colorado common law fraud             N/A               Affirmed
       (B)         Dismissal for Lack of                 N/A               Affirmed
                   Subject-Matter Jurisdiction
       (C)         Denial of Motion to Amend             N/A               Reversed
       (D)         Denial of Motion for Default        Affirmed              N/A
                   Judgment
       (E)         Attorney Fees
             (1)   Colorado                            Vacated             Vacated
             (2)   PSLRA                               Vacated             Vacated




         25
             We thus deny as moot the following motions addressing the district court’s
   orders regarding the attorney fee awards: (1) CRC I’s motion for leave to allow the
   district court to correct the amended final judgment, Doc. 10870007; (2) the Li
   Appellants’ motion for affirmative relief striking the amended final judgment, Doc.
   10878163; and (3) the Li Appellants’ motion to strike the second amended final
   judgment, Doc. 10874725.
          We also deny the Li Appellants’ motion for appointment of a neutral appellate
   counsel for CRCPS, Doc. 10847355. The Li Appellants provide no legal basis for
   this request.

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         We remand to the district court for further proceedings consistent with this

   Order and Judgment.


                                             Entered for the Court


                                             Scott M. Matheson, Jr.
                                             Circuit Judge




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                       UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                  Byron White United States Courthouse
                                            1823 Stout Street
                                        Denver, Colorado 80257
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   Christopher M. Wolpert                                                             Jane K. Castro
   Clerk of Court                                                                 Chief Deputy Clerk
                                       September 12, 2022


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    RE:       21-1232, 21-1253, Li, et al., et al v. Colorado Regional Center I, et al
              Dist/Ag docket: 1:19-CV-02443-RM-STV, 1:19-CV-02637-RM-STV

   Dear Counsel:

   Enclosed is a copy of the order and judgment issued today in this matter. The court has
   entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

   Pursuant to Fed. R. App. P. Rule 40(a)(1), any petition for rehearing must be filed within
   14 days after entry of judgment. Please note, however, that if the appeal is a civil case in
   which the United States or its officer or agency is a party, any petition for rehearing must
   be filed within 45 days after entry of judgment. Parties should consult both the Federal
   Rules and local rules of this court with regard to applicable standards and requirements.
   In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
   and no answer is permitted unless the court enters an order requiring a response. See Fed.
   R. App. P. Rules 35 and 40, and 10th Cir. R.35 and 40 for further information governing
   petitions for rehearing.
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   Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court



    cc:      Ty Gee
             Harold Haddon
             Stephanie Kanan
             James D. Kilroy
             Hubert H. Kuo
             Christopher P. Montville



    CMW/jjh




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